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                                                                                                                               United States Bankruptcy Court
                                                                                                                                       District of Utah

                                                                       IN RE:                                                                                                       Case No. 06-23890
                                                                       Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                               Chapter 7
                                                                                                                        Debtor(s)


                                                                                                                         STATEMENT OF FINANCIAL AFFAIRS
                                                                          This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                       is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                       is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                       farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                       personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                       stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                       25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                       use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                               DEFINITIONS

                                                                         "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                       for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                       an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                       partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                       form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                         "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                       which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                       a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                       1. Income from employment or operation of business
                                                                        None
                                                                               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                               including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                               case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                               maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                               beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                               joint petition is not filed.)
                                                                                   AMOUNT SOURCE
                                                                                   33,424.64 YTD Gross Income
                                                                                             Employment
                                                                                   39,073.00 2005 Gross Income
                                                                                             Employment
                                                                                   35,630.00 2004 Gross Income
                                                                                             Employment

                                                                       2. Income other than from employment or operation of business
                                                                        None
                                                                               State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                               two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                               separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                               the spouses are separated and a joint petition is not filed.)
                                                                                   AMOUNT SOURCE
                                                                                   43,552.00 2005 401(k) Withdrawal
                                                                                    6,613.25 2006 Personal Residence Sale




                                                                       STATEMENT OF FINANCIAL AFFAIRS


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                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None
                                                                             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None
                                                                             b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None
                                                                             c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None
                                                                             a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                     Check City v. Wesley Schwebke              Small Claims                              Fourth District Court, State of            Unknown
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                                                                     Case No. 068401445                                                                   Utah
                                                                                                                                                          Provo Small Claims Department

                                                                      None
                                                                             b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None
                                                                             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     WFS Financial                                                    September 2006                      2001 Pontiac Grand Prix - No Equity
                                                                     P.O. Box 2675
                                                                     Coraopolis, PA 15108-6933

                                                                     6. Assignments and receiverships
                                                                      None
                                                                             a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None
                                                                             b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None
                                                                             List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON                                       RELATIONSHIP TO                                           DESCRIPTION AND
                                                                     OR ORGANIZATION                                                  DEBTOR, IF ANY                     DATE OF GIFT           VALUE OF GIFT
                                                                     LDS Church                                                                                          monthly                Tithing - $200




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     8. Losses
                                                                      None
                                                                             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None
                                                                             List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Consumer Credit Counseling Service                                October 2006                                                            50.00
                                                                     100 Edgewood Ave
                                                                     Atlanta, GA 30303

                                                                     10. Other transfers
                                                                      None
                                                                             a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                     NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                     RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
                                                                     Clint Wood                                                        6/1/06                                         Personal Residence Sold, Received
                                                                     4864 South 3500 West                                                                                             $6,613.25 at Closing
                                                                     Roy, UT 84067
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                                                                      None
                                                                             b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
                                                                      ü      similar device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None
                                                                             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                                                                                       TYPE AND NUMBER OF ACCOUNT                     AMOUNT AND DATE OF SALE
                                                                     NAME AND ADDRESS OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                    OR CLOSING
                                                                     Wells Fargo Bank                                                  Checking Account                               $50 Received, Closed 2005
                                                                     5603 South 1900 West
                                                                     Roy, UT 84067

                                                                     12. Safe deposit boxes
                                                                      None
                                                                             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None
                                                                             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None
                                                                             List all property owned by another person that the debtor holds or controls.
                                                                      ü




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     15. Prior address of debtor
                                                                      None
                                                                             If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     ADDRESS                                                          NAME USED                                              DATES OF OCCUPANCY
                                                                     4864 S. 3500 W.                                                                                                         2005 - 2006
                                                                     Roy, UT 84067
                                                                     15 Spruce Drive                                                                                                         1998 - 2005
                                                                     Montrose, CO

                                                                     16. Spouses and Former Spouses
                                                                      None
                                                                             If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:

                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.

                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.

                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.
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                                                                      None
                                                                             a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None
                                                                             b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None
                                                                             c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


                                                                     18. Nature, location and name of business
                                                                      None
                                                                             a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.

                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None
                                                                             b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.




                                                                     Date: October 26, 2006                     Signature /s/ Wesley Scott Schwebke
                                                                                                                of Debtor                                                              Wesley Scott Schwebke


                                                                     Date: October 26, 2006                     Signature /s/ Lisa Jensen Schwebke
                                                                                                                of Joint Debtor                                                         Lisa Jensen Schwebke
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached



                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                                                                                          District of Utah


                                                                     IN RE:                                                                                                                Case No. 06-23890
                                                                     Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                        Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                                                                                   SUMMARY OF SCHEDULES

                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.


                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER



                                                                      A - Real Property                                               Yes                          1 $                  0.00




                                                                      B - Personal Property                                           Yes                          3 $            3,305.16




                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $              589.23



                                                                      E - Creditors Holding Unsecured Priority                        Yes                          1                                             0.00
                                                                                                                                                                                               $
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured                                 Yes                          9                                      38,686.31
                                                                                                                                                                                                $
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired                           Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1



                                                                       I - Current Income of Individual                               Yes                          1                                                                 2,788.63
                                                                                                                                                                                                                         $
                                                                           Debtor(s)

                                                                       J - Current Expenditures of Individual                         Yes                          2                                                                 2,848.64
                                                                                                                                                                                                                         $
                                                                           Debtor(s)


                                                                                                                                      TOTAL                      21 $             3,305.16 $              39,275.54




                                                                     SUMMARY OF SCHEDULES
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                                                                                                                                      District of Utah


                                                                     IN RE:                                                                                       Case No. 06-23890
                                                                     Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                               Chapter 7
                                                                                                                       Debtor(s)

                                                                              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                               TOTAL    $         0.00



                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $     2,788.63

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $     2,848.64

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $     4,028.80



                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $       314.23

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                      4. Total from Schedule F                                                                                           $    38,686.31

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $    39,000.54




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                    Case No. 06-23890
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY

                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J      DEDUCTING ANY                CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                      EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)

                                                                     SCHEDULE A - REAL PROPERTY
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                   Case No. 06-23890
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY

                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                               X

                                                                        2. Checking, savings or other financial            Zions Bank                                                                                 J                   75.00
                                                                           accounts, certificates of deposit, or           Checking Account #552348120
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,        Rent Deposit w/Landlord                                                                    J                  500.00
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                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Bedding                                                                                    J                   30.00
                                                                           include audio, video, and computer              Beds                                                                                       J                   50.00
                                                                           equipment.
                                                                                                                           Cell Phone                                                                                 J                   35.00
                                                                                                                           Chair                                                                                      J                   50.00
                                                                                                                           Compact Discs                                                                              J                   40.00
                                                                                                                           Computer                                                                                   J                   75.00
                                                                                                                           Computer Printer                                                                           J                   35.00
                                                                                                                           Cooking Utensils & Cookware                                                                J                   20.00
                                                                                                                           Couch                                                                                      J                  100.00
                                                                                                                           Desk                                                                                       J                   10.00
                                                                                                                           DVD Player                                                                                 J                   10.00
                                                                                                                           End Table                                                                                  J                   35.00
                                                                                                                           Entertainment                                                                              J                   50.00
                                                                                                                           Kitchen Table & Chairs                                                                     J                  100.00
                                                                                                                           Lamps & Accessories                                                                        J                   60.00
                                                                                                                           Lawnmower                                                                                  J                   10.00
                                                                                                                           Microwave                                                                                  J                   20.00
                                                                                                                           Other Bedroom Accessories                                                                  J                   45.00
                                                                                                                           Silverware/Flatware                                                                        J                     8.00
                                                                                                                           Small Kitchen Appliances                                                                   J                   10.00
                                                                                                                           Stereo                                                                                     J                   25.00
                                                                                                                           Television                                                                                 J                   25.00
                                                                                                                           VCR                                                                                        J                   15.00
                                                                                                                           Video Tapes/DVDs                                                                           J                   25.00
                                                                                                                           Washer & Dryer                                                                             J                   50.00
                                                                                                                           Yard Tools                                                                                 J                     5.00




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                    Case 06-23890                    Doc 8     Filed 10/26/06 Entered 10/26/06 14:48:59                          Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                           Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                         (Continuation Sheet)

                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                      N                                                                             H   DEBTOR'S INTEREST IN
                                                                                                                      O                                                                             W    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                          DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                             J      DEDUCTING ANY
                                                                                                                      E                                                                             C    SECURED CLAIM OR
                                                                                                                                                                                                             EXEMPTION

                                                                       5. Books, pictures and other art objects,          Collectibles                                                              J                 30.00
                                                                          antiques, stamp, coin, record, tape,            Other Home Decor Items                                                    J                 10.00
                                                                          compact disc, and other collections or
                                                                          collectibles.                                   Prints/Paintings/Art                                                      J                 10.00

                                                                       6. Wearing apparel.                                All Clothing/Shoes/Coats/Hats/Etc.                                        J               100.00
                                                                                                                          Hand Bag                                                                  J                 10.00
                                                                                                                          Wedding Ring                                                              J               100.00

                                                                       7. Furs and jewelry.                           X

                                                                       8. Firearms and sports, photographic,              Camera                                                                    J                 40.00
                                                                          and other hobby equipment.
                                                                       9. Interest in insurance policies. Name        X
                                                                          insurance company of each policy and
                                                                          itemize surrender or refund value of
                                                                          each.
                                                                      10. Annuities. Itemize and name each            X
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                                                                          issue.
                                                                      11. Interests in an education IRA as            X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or              JC Penney                                                                 W               298.99
                                                                          other pension or profit sharing plans.          401(k) Plan
                                                                          Itemize.
                                                                                                                          Standard Examiner                                                         H               918.17
                                                                                                                          401(k) Plan

                                                                      13. Stock and interests in incorporated         X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint          X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                        X

                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor         X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                    Case 06-23890                    Doc 8    Filed 10/26/06 Entered 10/26/06 14:48:59                              Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                           Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                         (Continuation Sheet)

                                                                                                                                                                                                               CURRENT VALUE OF
                                                                                                                      N                                                                                  H    DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                  W     PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                          DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                  J       DEDUCTING ANY
                                                                                                                      E                                                                                  C     SECURED CLAIM OR
                                                                                                                                                                                                                   EXEMPTION

                                                                      21. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
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                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              1991 Ford Taurus                                                              W                  275.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.             X

                                                                      27. Aircraft and accessories.                   X

                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X

                                                                      31. Animals.                                    X

                                                                      32. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      33. Farming equipment and implements.           X

                                                                      34. Farm supplies, chemicals, and feed.         X

                                                                      35. Other personal property of any kind         X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                  TOTAL                  3,305.16

                                                                                                                                                                              (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                             Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                       Case 06-23890               Doc 8         Filed 10/26/06 Entered 10/26/06 14:48:59                                Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                             Case No. 06-23890
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $125,000.
                                                                     (Check one box)

                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Chair                                                        UCA § 78-23-8(1)(a)                                                    50.00                    50.00
                                                                     Couch                                                        UCA § 78-23-8(1)(a)                                                   100.00                   100.00
                                                                     End Table                                                    UCA § 78-23-8(1)(a)                                                    35.00                    35.00
                                                                     Entertainment                                                UCA § 78-23-8(1)(a)                                                    50.00                    50.00
                                                                     Kitchen Table & Chairs                                       UCA § 78-23-8(1)(b)                                                   100.00                   100.00
                                                                     Lamps & Accessories                                          UCA § 78-23-8(1)(a)                                                    60.00                    60.00
                                                                     Wedding Ring                                                 UCA § 78-23-8(1)(d)                                                   100.00                   100.00
                                                                     JC Penney                                                    UCA § 78-23-6(3)                                                      298.99                   298.99
                                                                     401(k) Plan
                                                                     Standard Examiner                                            UCA § 78-23-6(3)                                                      918.17                   918.17
                                                                     401(k) Plan
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                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                     Case 06-23890
                                                                     Official Form 6D (10/06)
                                                                                                                    Doc 8                   Filed 10/26/06 Entered 10/26/06 14:48:59                                                                                                                Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                    Case No. 06-23890
                                                                                                                                  Debtor(s)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                                                                     State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the date
                                                                     of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
                                                                     chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security
                                                                     interests.

                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See
                                                                     11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet of
                                                                     the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the
                                                                     debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities
                                                                     and Related Data.


                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                            H U SB A N D , W IF E , JO IN T ,
                                                                                                                                                 O R C O M M U N IT Y




                                                                                                                                                                                                                                                         U N L IQ U ID A T E D
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                                                                                                                                                                                                                                    C O N T IN G E N T
                                                                                                                                                                                                                                                                                                  AMOUNT OF
                                                                                                                                 CODEBTOR




                                                                                                                                                                                                                                                                                 D ISPU T E D
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                                           DATE CLAIM WAS INCURRED,                                                                            CLAIM WITHOUT
                                                                                                                                                                                                                                                                                                                  UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                 NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                                   DEDUCTING
                                                                                                                                                                                                                                                                                                                PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                            PROPERTY SUBJECT TO LIEN                                                                               VALUE OF
                                                                                                                                                                                                                                                                                                 COLLATERAL




                                                                     ACCOUNT NO. 1080                                                               J                           Date Incurred: Aug 2005                                                                                               589.23           314.23
                                                                                                                                                                                Consideration:
                                                                     Cars For Sale
                                                                     5765 S. 1900 W.
                                                                     Roy, UT 84067

                                                                                                                                                                                VALUE $ 275.00

                                                                     ACCOUNT NO.




                                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                                VALUE $

                                                                                                                                                                                                                                    Subtotal
                                                                            0 continuation sheets attached                                                                                                              (Total of this page)                                                    $     589.23 $         314.23

                                                                                                                                                                                                                             Total
                                                                                                                                                               (Use only on last page of the completed Schedule D. Report also on
                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)                                                              $     589.23 $         314.23


                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                     Case 06-23890
                                                                     Official Form 6E (10/06)
                                                                                                                      Doc 8          Filed 10/26/06 Entered 10/26/06 14:48:59                                           Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                         Case No. 06-23890
                                                                                                                                   Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

                                                                     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to priority
                                                                     should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account number,
                                                                     if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for
                                                                     each type of priority and label each with the type of priority.

                                                                     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112. If “a minor child” is stated, also include the
                                                                     name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed on
                                                                     this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under chapter 7
                                                                     or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
                                                                     chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.


                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
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                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                          Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0
                                                                                continuation sheets attached


                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     Case 06-23890
                                                                     Official Form 6F (10/06)
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                              Case No. 06-23890
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules
                                                                     and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and
                                                                     Related Data.


                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  H U SB A N D , W IFE , JO IN T ,
                                                                                                                                                       O R C O M M U N IT Y




                                                                                                                                                                                                                                                                      U N L IQ U ID A T E D
                                                                                                                                                                                                                                                 C O N T IN G E N T
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                                              D ISPU T E D
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                         DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                          (See Instructions Above.)                                                                           SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM
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                                                                     ACCOUNT NO. 4904122                                                             W Open account opened 5/04

                                                                     Adv Ntwk Sys
                                                                     215 Pitkin
                                                                     Grand Junction, CO 81501

                                                                                                                                                                                                                                                                                                                    991.00

                                                                     ACCOUNT NO. 5110215                                                             W Open account opened 10/05

                                                                     Advantage Network Sy
                                                                     P O Box 1180
                                                                     Grand Junction, CO 81501

                                                                                                                                                                                                                                                                                                                     96.00

                                                                     ACCOUNT NO. 1015002345                                                          W Open account opened 6/06

                                                                     Afni
                                                                     Po Box 3097
                                                                     Bloomington, IL 61702

                                                                                                                                                                                                                                                                                                                     74.00

                                                                     ACCOUNT NO.                                                                         J

                                                                     Associates Of Pathology, Inc.
                                                                     P.O. Box 727
                                                                     Brigham City, UT 84302-0727

                                                                                                                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                                                                Subtotal
                                                                            8 continuation sheets attached                                                                                                                          (Total of this page)                                                     $    1,161.00

                                                                                                                                                                                                                                                  Total
                                                                                                                                                                                     (Use only on last page of the completed Schedule F. Report also on
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                                                                                                                                                                                                      Summary of Certain Liabilities and Related Data.)                                                      $




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
                                                                     Official Form 6F (10/06) - Cont.
                                                                                                                 Doc 8         Filed 10/26/06 Entered 10/26/06 14:48:59                                                                        Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                  Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO. 22170900578178                                                   W Open account opened 11/03

                                                                     Beneficial/household Finance
                                                                     Po Box 1547
                                                                     Chesapeake, VA 23327

                                                                                                                                                                                                                                                                                                                      6,705.00

                                                                     ACCOUNT NO.                                                                      J

                                                                     BMG Music Service
                                                                     P.O. Box 1958
                                                                     Indianapolis, IN 46291-0010

                                                                                                                                                                                                                                                                                                                          0.00
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                                                                     ACCOUNT NO. 4679181                                                          W Open account opened 5/06

                                                                     Bonn Coll
                                                                     2627 Washington Bl
                                                                     Ogden, UT 84401

                                                                                                                                                                                                                                                                                                                        364.00

                                                                     ACCOUNT NO. 412174144065                                                     W Revolving account opened 11/97

                                                                     Capital One Bank
                                                                     Po Box 85015
                                                                     Richmond, VA 23285-5075

                                                                                                                                                                                                                                                                                                                        592.00

                                                                     ACCOUNT NO.                                                                      J                           Date Incurred: 2006
                                                                                                                                                                                  Consideration: Deferred Deposit Loan
                                                                     Cash Asap - #610
                                                                     765 W. Antelope Drive, Ste A
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                        300.00

                                                                     ACCOUNT NO.                                                                      J

                                                                     Check City
                                                                     P.O. Box 970183
                                                                     Orem, UT 84097

                                                                                                                                                                                                                                                                                                                      1,602.78

                                                                     ACCOUNT NO.                                                                      J

                                                                     Check City
                                                                     Online
                                                                     P.O. Box 970183
                                                                     Orem, UT 84097
                                                                                                                                                                                                                                                                                                                        525.00

                                                                     Sheet no.      1 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $   10,088.78

                                                                                                                                                                                                                                                      Total
                                                                                                                                                                                         (Use only on last page of the completed Schedule F. Report also on
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                                                                                                                                                                                                          Summary of Certain Liabilities and Related Data.)                                                      $

                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
                                                                     Official Form 6F (10/06) - Cont.
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                  Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO. 6073365814103328                                                     J                           Installment account opened 2/04

                                                                     Citifinancial
                                                                     Po Box 499
                                                                     Hanover, MD 21076

                                                                                                                                                                                                                                                                                                                      5,051.00

                                                                     ACCOUNT NO.                                                                      J

                                                                     Columbia House
                                                                     Customer Service Center
                                                                     P.O. Box 91605
                                                                     Indianapolis, IN 46291-0605
                                                                                                                                                                                                                                                                                                                         27.87
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                                                                     ACCOUNT NO.                                                                      J

                                                                     Country Door




                                                                                                                                                                                                                                                                                                                          0.00

                                                                     ACCOUNT NO. 7270660000480785                                                 W Open account opened 8/06

                                                                     Credit Bureau Services
                                                                     3355 Washington Blvd
                                                                     Ogden, UT 84401

                                                                                                                                                                                                                                                                                                                      1,165.00

                                                                     ACCOUNT NO. 3150660000472844                                                 W Open account opened 3/06

                                                                     Credit Bureau Services
                                                                     3355 Washington Blvd
                                                                     Ogden, UT 84401

                                                                                                                                                                                                                                                                                                                        120.00

                                                                     ACCOUNT NO. 4050560000465875                                                 W Open account opened 1/06

                                                                     Credit Bureau Services
                                                                     3355 Washington Blvd
                                                                     Ogden, UT 84401

                                                                                                                                                                                                                                                                                                                         54.00

                                                                     ACCOUNT NO. 7859                                                                 J

                                                                     Credit Collection Services
                                                                     P.O. Box 52677
                                                                     Phoenix, AZ 85072-2677

                                                                                                                                                                                                                                                                                                                        298.00

                                                                     Sheet no.      2 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $    6,715.87

                                                                                                                                                                                                                                                      Total
                                                                                                                                                                                         (Use only on last page of the completed Schedule F. Report also on
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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
                                                                     Official Form 6F (10/06) - Cont.
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                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO.                                                                      J

                                                                     Davis Hospital & Medical Center
                                                                     1600 W. Antelope Drive
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                     unknown

                                                                     ACCOUNT NO.                                                                      J                           Date Incurred: 3/26/04
                                                                                                                                                                                  Consideration: Monthly Utility Service
                                                                     Direct TV
                                                                     P.O. Box 78626
                                                                     Phoenix, AZ 85062-8626

                                                                                                                                                                                                                                                                                                                         99.44
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                                                                     ACCOUNT NO. 1058                                                                 J                           Date Incurred: 2006
                                                                                                                                                                                  Consideration: Monthly Utility Services
                                                                     Dish Network
                                                                     P.O. Box 660589
                                                                     Dallas, TX 75266-0589

                                                                                                                                                                                                                                                                                                                        175.21

                                                                     ACCOUNT NO. 1058                                                                 J                           Date Incurred: July 15 2005
                                                                                                                                                                                  Consideration: Unknown
                                                                     Echostar - ErSolutions, Inc.
                                                                     P.O. Box 9004
                                                                     Renton, WA 98057

                                                                                                                                                                                                                                                                                                                        175.21

                                                                     ACCOUNT NO. 1822418                                                              J                           Open account opened 2/06

                                                                     Express Recovery Services
                                                                     3782 W 2340 S Ste B
                                                                     Salt Lake City, UT 84120

                                                                                                                                                                                                                                                                                                                      1,150.00

                                                                     ACCOUNT NO. 1916305                                                          W Open account opened 7/06

                                                                     Express Recovery Services
                                                                     3782 W 2340 S Ste B
                                                                     Salt Lake City, UT 84120

                                                                                                                                                                                                                                                                                                                        100.00

                                                                     ACCOUNT NO. 1718362                                                          W Open account opened 9/05

                                                                     Express Recovery Services
                                                                     3782 W 2340 S Ste B
                                                                     Salt Lake City, UT 84120

                                                                                                                                                                                                                                                                                                                         80.00

                                                                     Sheet no.      3 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $    1,779.86

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                                                                                                                                                                                         (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                             the Summary of Schedules, and if applicable, on the Statistical
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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                           Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                       DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                         SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO.                                                                      J

                                                                     Farmers Insurance Group
                                                                     1868 North Hillfield Road
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                 436.85

                                                                     ACCOUNT NO.                                                                      J

                                                                     Fast Bucks
                                                                     301 36th Street
                                                                     Ogden, UT 84403

                                                                                                                                                                                                                                                                                                                 312.00
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                                                                     ACCOUNT NO. Vartec Lo-4603214                                                W Open account opened 10/05

                                                                     Genesis Financial Solutions
                                                                     8405 Sw Nimbus Ave Suite A
                                                                     Beaverton, OR 97008-7185

                                                                                                                                                                                                                                                                                                                 348.00

                                                                     ACCOUNT NO.                                                                      J

                                                                     Kent's Market
                                                                     3535 West 5600 South
                                                                     Roy, UT 84067

                                                                                                                                                                                                                                                                                                                 126.68

                                                                     ACCOUNT NO.                                                                      J

                                                                     Layton Library
                                                                     Davis County Public Library
                                                                     155 N. Wasatch Drive
                                                                     Layton, UT 84041
                                                                                                                                                                                                                                                                                                                 169.42

                                                                     ACCOUNT NO. 51901515                                                         W Revolving account opened 9/06

                                                                     Les Schwab




                                                                                                                                                                                                                                                                                                                 478.00

                                                                     ACCOUNT NO. P3194123                                                         W Revolving account opened 1/05

                                                                     Living Scriptures Inc
                                                                     3625 Harrison Blvd
                                                                     Ogden, UT 84403

                                                                                                                                                                                                                                                                                                               1,732.00

                                                                     Sheet no.      4 of        8 continuation sheets attached to                                                                                                            Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                  (Total of this page)                                                     $    3,602.95

                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
                                                                     Official Form 6F (10/06) - Cont.
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                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO. 0020                                                                 J

                                                                     LRS Of Utah
                                                                     P.O. Box 1939
                                                                     Ogden, UT 84402-1939

                                                                                                                                                                                                                                                                                                                        343.07

                                                                     ACCOUNT NO.                                                                      J

                                                                     Money 4 You
                                                                     1992 W. Antelope Dr #160
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                         30.00
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                                                                     ACCOUNT NO.                                                                      J                           Date Incurred: Jan 2005
                                                                                                                                                                                  Consideration: Medical Services
                                                                     Mountain View Family Care
                                                                     124 South Fairfield Road
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                        369.20

                                                                     ACCOUNT NO. 9827                                                                 J

                                                                     Nextel Communications
                                                                     P.O. Box 4181
                                                                     Carol Stream, IL 60197-4181

                                                                                                                                                                                                                                                                                                                        291.57

                                                                     ACCOUNT NO.                                                                      J

                                                                     NowCare
                                                                     698 12th Street
                                                                     Ogden, UT 84404

                                                                                                                                                                                                                                                                                                                         68.00

                                                                     ACCOUNT NO.                                                                      J                           Date Incurred: May 2006
                                                                                                                                                                                  Consideration: Debt Collection
                                                                     Outsource Receivables Management
                                                                     P.O. Box 166
                                                                     Ogden, UT 84402

                                                                                                                                                                                                                                                                                                                         93.41

                                                                     ACCOUNT NO. xxx1406                                                              J                           Date Incurred: July 2005
                                                                                                                                                                                  Conisderation: Unknown
                                                                     Quail Cove
                                                                     AFS P.O. Box 639
                                                                     Draper, UT 84020

                                                                                                                                                                                                                                                                                                                        199.55

                                                                     Sheet no.      5 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $    1,394.80

                                                                                                                                                                                                                                                      Total
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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                  Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO.                                                                      J

                                                                     Revenue Recovery L.C.
                                                                     P.O. Box 186
                                                                     Sandy, UT 84091

                                                                                                                                                                                                                                                                                                                         73.22

                                                                     ACCOUNT NO.                                                                      J

                                                                     Rocky Mountain OBGYN




                                                                                                                                                                                                                                                                                                                          0.00
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                                                                     ACCOUNT NO.                                                                      J

                                                                     Roy Library
                                                                     Weber County Public Library
                                                                     1950 W. 4800 S.
                                                                     Roy, UT 84067
                                                                                                                                                                                                                                                                                                                        278.29

                                                                     ACCOUNT NO.                                                                      J

                                                                     Scholastic
                                                                     The 4 Friends Club
                                                                     P.O. Box 6002
                                                                     Jefferson City, MO 65102-6002
                                                                                                                                                                                                                                                                                                                         24.94

                                                                     ACCOUNT NO. xxxxxxx806-2                                                         J                           Date Incurred: Dec 2005
                                                                                                                                                                                  Consideration: Cell Phone Monthly Contract
                                                                     Sprint
                                                                     P.O. Box 219554
                                                                     Kansas City, MO 64121-9554

                                                                                                                                                                                                                                                                                                                      1,046.94

                                                                     ACCOUNT NO.                                                                      J

                                                                     Tanner Clinic
                                                                     P.O. Box 337
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                         75.00

                                                                     ACCOUNT NO.                                                                      J

                                                                     The Cash Store - #606
                                                                     852 W. Hillfield Rd. #D
                                                                     Layton, UT 84041

                                                                                                                                                                                                                                                                                                                        240.00

                                                                     Sheet no.      6 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $    1,738.39

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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 06-23890
                                                                     Official Form 6F (10/06) - Cont.
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                  Case No. 06-23890
                                                                                                                             Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                  (Continuation Sheet)




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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                              DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO. 850506793353o                                                    W Revolving account opened 4/03

                                                                     Through The Country Do
                                                                     1112 7th Ave
                                                                     Monroe, WI 53566

                                                                                                                                                                                                                                                                                                                        199.00

                                                                     ACCOUNT NO. W.S. Schwebke                                                        J                           Date Incurred: 2005
                                                                                                                                                                                  Consideration: Medical Services
                                                                     Timothy Sallinger M.D.
                                                                     535 So. Nevada Ave
                                                                     Montrose, CO 81401

                                                                                                                                                                                                                                                                                                                         25.00
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                                                                     ACCOUNT NO.                                                                      J

                                                                     USA Cash Services
                                                                     333 2nd Street
                                                                     Ogden, UT 84404

                                                                                                                                                                                                                                                                                                                        358.04

                                                                     ACCOUNT NO. 00000000061500020                                                W Installment account opened 5/06

                                                                     Utah Legal Recovery Sv
                                                                     Po Box 1937
                                                                     Ogden, UT 84402

                                                                                                                                                                                                                                                                                                                         73.00

                                                                     ACCOUNT NO. 8951                                                                 J                           Date Incurred: November 2005
                                                                                                                                                                                  Consideration: Unknown
                                                                     Wells Fargo Bank
                                                                     5603 South 1900 West
                                                                     Roy, UT 84067

                                                                                                                                                                                                                                                                                                                      1,568.22

                                                                     ACCOUNT NO. 12347501                                                           H                             Open account opened 7/06

                                                                     Western Collections
                                                                     2233 E Main St Ste B
                                                                     Montrose, CO 81401

                                                                                                                                                                                                                                                                                                                        207.00

                                                                     ACCOUNT NO. 8257201                                                            H                             Installment account opened 3/02

                                                                     Western Collections
                                                                     Box 368
                                                                     Grand Junction, CO 81502

                                                                                                                                                                                                                                                                                                                         70.00

                                                                     Sheet no.      7 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                         (Total of this page)                                                     $    2,500.26

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                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    Case 06-23890
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                                                   Case No. 06-23890
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
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                                                                                                                                                                                                                                                      C O N T IN G E N T
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                                                   D ISPU T E D
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                               DATE CLAIM WAS INCURRED AND                                                                                          AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                          CONSIDERATION FOR CLAIM. IF CLAIM IS                                                                                     OF
                                                                                         (See Instructions Above.)                                                                                 SUBJECT TO SETOFF, SO STATE                                                                                         CLAIM




                                                                     ACCOUNT NO.                                                                       J                           Date Incurred: 7/11/04
                                                                                                                                                                                   Consideration: Unknown
                                                                     Westgate Resort
                                                                     6145 Carrier Drive
                                                                     Orlando, FL 32819

                                                                                                                                                                                                                                                                                                                       2,701.40

                                                                     ACCOUNT NO. 518090155960                                                          J                           Installment account opened 11/05

                                                                     Wfs Financial
                                                                     Po Box 19657
                                                                     Irvine, CA 92623

                                                                                                                                                                                                                                                                                                                       7,003.00
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       8 of        8 continuation sheets attached to                                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                                          (Total of this page)                                                     $    9,704.40

                                                                                                                                                                                                                                                       Total
                                                                                                                                                                                          (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                              the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                           Summary of Certain Liabilities and Related Data.)                                                      $   38,686.31

                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     Case 06-23890                   Doc 8          Filed 10/26/06 Entered 10/26/06 14:48:59                                          Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                        Case No. 06-23890
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).


                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                    Case 06-23890                  Doc 8         Filed 10/26/06 Entered 10/26/06 14:48:59                                       Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                  Case No. 06-23890
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS

                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).


                                                                     üCheck this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                    Case 06-23890
                                                                     Official Form 6I (10/06)
                                                                                                                  Doc 8          Filed 10/26/06 Entered 10/26/06 14:48:59                                         Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                 Case No. 06-23890
                                                                                                                               Debtor(s)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child.


                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Daughter                                                                                                     13




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE

                                                                      Occupation                Reporter                                                               Sales Associate
                                                                      Name of Employer          Standard Examiner                                                      JC Penney's
                                                                      How long employed         1 Year 6 Months                                                        9 Months
                                                                      Address of Employer       249 Standard Way                                                       Layton Hills Mall
                                                                                                Ogden, UT 84401                                                        Layton, UT 84041


                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               3,060.56 $                          920.68
                                                                     2. Estimated monthly overtime                                                                                            $                               $
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                                                                     3. SUBTOTAL                                                                                                              $               3,060.56 $                          920.68

                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   455.08 $                        168.71
                                                                       b. Insurance                                                                                                           $                   378.97 $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify) 401(K)                                                                                              $                   153.03 $                          36.82
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                   987.08 $                        205.53

                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               2,073.48 $                          715.15


                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $


                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                               $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               2,073.48 $                          715.15


                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                2,788.63
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)


                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 06-23890
                                                                     Official Form 6J (10/06)
                                                                                                                   Doc 8         Filed 10/26/06 Entered 10/26/06 14:48:59                                      Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                                  Case No. 06-23890
                                                                                                                               Debtor(s)

                                                                                                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate.


                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              775.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              150.00
                                                                         b. Water and sewer                                                                                                                             $                68.00
                                                                         c. Telephone                                                                                                                                   $                58.00
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              600.00
                                                                     5. Clothing                                                                                                                                        $                50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $                40.00
                                                                     7. Medical and dental expenses                                                                                                                     $              150.00
                                                                     8. Transportation (not including car payments)                                                                                                     $              150.00
                                                                                                                                                                                                                                       100.00
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                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $
                                                                     10. Charitable contributions                                                                                                                       $              200.00
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $                89.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $              138.64
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14.   Alimony, maintenance, and support paid to others                                                                                             $
                                                                     15.   Payments for support of additional dependents not living at your home                                                                        $
                                                                     16.   Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                 $
                                                                     17.   Other See Schedule Attached                                                                                                                  $              280.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            2,848.64


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            2,788.63
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            2,848.64
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $               -60.01


                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                  Case 06-23890              Doc 8        Filed 10/26/06 Entered 10/26/06 14:48:59           Desc Main
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                       Case No. 06-23890
                                                                                                                        Debtor(s)

                                                                                            SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                             Continuation Sheet - Page 1 of 1

                                                                     Other Expenses (DEBTOR)
                                                                     School Lunch & School Expenses                                                                                       22.00
                                                                     Personal Care Items                                                                                                  40.00
                                                                     Cell Phone Monthly Contract Payment                                                                                 130.00
                                                                     Monthly Internet Service                                                                                             20.00
                                                                     Monthly Cable/Satellite Service                                                                                      68.00
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                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 06-23890
                                                                     Official Form 6 - Declaration (10/06)
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                                                                     IN RE Schwebke, Wesley Scott & Schwebke, Lisa Jensen                                                         Case No. 06-23890
                                                                                                                              Debtor(s)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       23 sheets (total shown on
                                                                     summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: October 26, 2006                             Signature: /s/ Wesley Scott Schwebke
                                                                                                                                      Wesley Scott Schwebke                                                                                     Debtor



                                                                     Date: October 26, 2006                             Signature: /s/ Lisa Jensen Schwebke
                                                                                                                                      Lisa Jensen Schwebke                                                                        (Joint Debtor, if any)

                                                                                                                                                                                        [If joint case, both spouses must sign.]


                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                    Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                   Date


                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:



                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a

                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.




                                                                     Date:                                              Signature:


                                                                                                                                                                                          (Print or type name of individual signing on behalf of debtor)


                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                        Case 06-23890                Doc 8      Filed 10/26/06 Entered 10/26/06 14:48:59                              Desc Main
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                                                                                                                                  United States Bankruptcy Court
                                                                                                                                          District of Utah


                                                                     IN RE:                                                                                                    Case No. 06-23890
                                                                     Schwebke, Wesley Scott & Schwebke, Lisa Jensen
                                                                                                                                                                               Chapter 7
                                                                                                                         Debtor(s)

                                                                                                          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

                                                                     üI have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
                                                                         I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
                                                                     üI intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                                                                                                                Property will    Debt will be
                                                                                                                                                                                                 Property is    be redeemed       reaffirmed
                                                                                                                                                                                 Property will   claimed as    pursuant to 11   pursuant to 11
                                                                     Description of Secured Property                           Creditor’s Name                                  be Surrendered     exempt       U.S.C. § 722    U.S.C. § 524(c)

                                                                     1991 Ford Taurus                                          Cars For Sale                                                                                         ü


                                                                                                                                                                                                                                 Lease will be
                                                                                                                                                                                                                                   assumed
                                                                                                                                                                                                                                pursuant to 11
                                                                                                                                                                                                                                   U.S.C. §
                                                                     Description of Leased Property                                              Lessor’s Name                                                                   362(h)(1)(A)
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                                                                         10/26/2006                   /s/ Wesley Scott Schwebke                                   /s/ Lisa Jensen Schwebke
                                                                               Date                   Wesley Scott Schwebke                                Debtor Lisa Jensen Schwebke                   Joint Debtor (if applicable)


                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.


                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                 Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                Date


                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:



                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
